                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA                           )
                                                    )
 v.                                                 )      Case No. 3:19-CR-109
                                                    )
 SHEILA HOWELL                                      )


                                          ORDER

        On October 21, 2020, United States Magistrate Judge C. Clifford Shirley conducted

 a change of plea hearing and filed a Report and Recommendation (“R&R”) recommending:

 (1) that the Court find that the plea hearing in this case could not be further delayed without

 serious harm to the interests of justice; (2) that the defendant’s plea of guilty to the charge

 in Count One of the indictment be accepted; (3) that the defendant be found guilty of that

 charge; (4) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (5) that the defendant remain in custody until his sentencing hearing. [Doc.

 59]. No objections have been filed to the R&R, and the time for doing so has now passed.

 See Fed. R. Crim. P. 59(b)(2).

        The Court has thoroughly reviewed the R&R. Having done so, Magistrate Judge

 Shirley’s R&R [doc. 59] is ACCEPTED and ADOPTED in full.

        Pursuant to 28 U.S.C. § 636(b)(1), it is ORDERED that:

        1. The plea hearing conducted in this case on October 21, 2020, could not
        have been further delayed without serious harm to the interests of justice;




Case 3:19-cr-00109-RLJ-HBG Document 65 Filed 11/05/20 Page 1 of 2 PageID #: 212
       2. The defendant’s plea of guilty to the charge in Count One of the
       indictment, that is, of knowingly conspiring to distribute 50 grams or more
       of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and
       (b)(1)(A), is ACCEPTED;

       3. The defendant is ADJUDGED guilty of Count One of the indictment;

       4. The decision whether to accept the parties’ plea agreement is
       DEFERRED until sentencing; and

       5. The defendant shall remain in custody until sentencing, which is
       scheduled to take place on Tuesday, March 9, 2021, at 10:15 a.m. in
       Knoxville.

             IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




                                           2

Case 3:19-cr-00109-RLJ-HBG Document 65 Filed 11/05/20 Page 2 of 2 PageID #: 213
